62 F.3d 1426
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Craig KELLEY, Defendant-Appellant.
    No. 94-30334.
    United States Court of Appeals, Ninth Circuit.
    Submitted Aug. 2, 1995.*Decided Aug. 8, 1995.
    
      Before:  ALARCON, FERNANDEZ, and RYMER, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Craig Kelley appeals the 24-month sentence imposed following his plea of guilty to conspiring to manufacture and distribute more than 1,000 marijuana plants in violation of 21 U.S.C. Secs. 841(b)(1)(A), 846.
    
    
      3
      Pursuant to Anders v. California, 386 U.S. 738 (1967), Kelley's counsel submitted a brief stating that he finds no meritorious issues for review.  Our independent review of the record pursuant to Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no issue for review.  Accordingly, counsel's motion to withdraw is GRANTED and the district court's judgment is AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed. R. App.  P. 34(a); 9th Cir.  R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.  R. 36-3
      
    
    